    Case 2:24-cr-00091-ODW    Document 94   Filed 07/17/24   Page 1 of 3 Page ID #:1252




1     DAVID C. WEISS
      Special Counsel
2     LEO J. WISE
                                         Counsel
      Principal Senior Assistant Special
3     DEREK E. HINES
      Senior Assistant Special Counsel
4     SEAN F. MULRYNE
      CHRISTOPHER M. RIGALI
5     Assistant Special Counsels
                                                B-200
6           950 Pennsylvania Avenue NW, Room
            Washington, D.C.   2053 0
7 i         Telephone:       (771) 217-6091
            E-mail:    chri stop her.rigali2@usdoj.gov
8           Attorneys for the United States

9     Attorneys for Plaintiff
      UNITED STATES OF AMERICA
10
                              UNITED STATES DISTRICT COURT
11                                                           IA
                        FOR THE CENTRAL DISTRICT OF CALIFORN
12
                                               No. 2:24-cr-00091-ODW
        UNITED STATES OF AMERICA,
13                                                      ] ORDER GRANTING
                 Plaintiff,                    [P
                                               GOVERNMENT'S MOTION FOR A
14
                      v.                       PROTECTIVE ORDER PURSUANT TO
                                               SECTION 4 OF THE CLASSIFIED
15
                                               INFORMATION PROCEDURES ACT AND
        ALEXANDER SMIRNOV,                                                       E
                                               FEDERAL RULE OF CRIMINAL PROCEDUR
16
                 Defendant.                    16(d) (1)
17

18
                                            ORDER
19
                                                  ed the Government's Ex
             The Court, having carefully consider
20
                                                 Memorandum of Law for a
        Pa rte, In Camera, Under Seal Motion and
21
                                              4 of the Classified Information
        Protective Order Pursuant to Section
22
                                                inal Procedure 16(d)(1), and
        Procedures Act and Federal Rule of Crim
23
                                              GRANTS the Government's Motion
        the exhibited filed therewith, hereby
24
        in its entirety.
25
                                                   Motion was properly filed
             The Court finds that the Government's
26
                                             review, pursuant to Section 4 of
        ex parte, in camera for this Court's
27                                                                    See United
                                              Act ("CIPA").
        the Classified Information Procedures
28 I~
                                          F.3d 1249, 1261 (9th Cir. 1998).
        States v. Klimavicius-Vilora, 144
 Case 2:24-cr-00091-ODW    Document 94   Filed 07/17/24   Page 2 of 3 Page ID #:1253




                                      e, in camera review of the
1 ~~The Court has conducted an ex pan
                                   and the supporting classified
2 ~~Government's classified Motion

3 II materials.
                                           ew of the arguments set forth in
4         On the basis of the Court's revi
                                      on and Memorandum of Law, and the
5    the Government's classified Moti
                                       the Court finds that the classified
6    supporting classified materials,
                                            nt's Motion and Memorandum of
7    information referenced in the Governme
                                           ilege because the information is
8    Law implicates the state-secrets priv
                                             reasonably could be expected
9    properly classified and its disclosure
                                            of the United States.
10   to cause harm to the national security
                                                   for relief, the Court has
11          In reviewing the Government's request
                                            ts applying CIPA, including
12     applied the Ninth Circuit's preceden
                                              94 F.4th 782 (9th Cir. 2024),
13     United States v. Alahmedalabdaloklah,
                                             885 (9th Cir. 2003), and
14     United States v. Sedaghaty, 728 F.3d
                                               Cir. 1998).        Applying those
15     Klimavicius-Viloria, 144 F.3d 1249 (9th
                                           and helpful" standard governing
16     precedents, including the "relevant
                                             ion, the Court hereby ORDERS
17     the disclosure of classified informat
                                          discovery as follows:
18     that the Government may proceed in
                                                   s for certain, identified
19           (1) Provide substitutions or summarie
                                          CIPA Section 4;
20     classified information pursuant to
                                                    tified Federal Bureau of
21           (2) Make particular redactions to iden
                                           be produced in unclassified
22     Investigation (~~FBI") documents to
                                            4 and Fed. R. Crim. P. 16(d)(1) );
23     discovery (pursuant to CIPA Section

24     and
                                                    categories of classified
25 I         (3) "Delete" from discovery certain
                                             discoverable, not relevant and
26     material—material that is either not
                                              e duplicative or cumulative of
27     helpful to the defense, or is otherwis
                                           nse in unclassified discovery
28     material being produced to the defe

                                          2
Case 2:24-cr-00091-ODW       Document 94     Filed 07/17/24   Page 3 of 3 Page ID #:1254




                           Section 4).
1        (pursuant to CIPA
                                                                            Government's
                                 DE RE D  th at   th e en tire text of the
2        I T IS FURTHER OR
                                                                         s and this Order
                              of   la w,  an d  ac companying document
                          um
3 i mation, memorand
                                                                         sealed and
                           lo se d  to   th e  de fe nse, and shall be
4   shall not be disc
                                                                      age of such
                       a  fa ci li ty  ap pr  op riate for the stor
5 maintained in
                                                                                 ty Officer
                                         th e  Cl as si fi ed Information Securi
                         rmation by
6 classified info
                                                                in accordance with
                si gn ee  of  th  e  cl erk of the Court,
 7  as the   de
                                                                            , until further
                             ty   pr oc ed ur es ,  fo r any future review
                           ri
 8 established secu

9        order of this Court.
                                                                      ,
                      D.
10 ', IT IS SO ORDERE

11
                                                                      WRIGHT II
12                                               HONQRABLE Q'~'/I~~.
           DATE                                  UNITED STA'I'D   IS TR ICT JUDGE
13

14

15

I6

17

18

    19

    20

    21

    22 ~

    23

    24

    25

    26

    27

    28

                                                3
